Case 2:08-cr-00429-KSH   Document 51   Filed 05/15/09   Page 1 of 8 PageID: 136
Case 2:08-cr-00429-KSH   Document 51   Filed 05/15/09   Page 2 of 8 PageID: 137
Case 2:08-cr-00429-KSH   Document 51   Filed 05/15/09   Page 3 of 8 PageID: 138
Case 2:08-cr-00429-KSH   Document 51   Filed 05/15/09   Page 4 of 8 PageID: 139
Case 2:08-cr-00429-KSH   Document 51   Filed 05/15/09   Page 5 of 8 PageID: 140
Case 2:08-cr-00429-KSH   Document 51   Filed 05/15/09   Page 6 of 8 PageID: 141
Case 2:08-cr-00429-KSH   Document 51   Filed 05/15/09   Page 7 of 8 PageID: 142
Case 2:08-cr-00429-KSH   Document 51   Filed 05/15/09   Page 8 of 8 PageID: 143
